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                            UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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       RAUL F. SALDIVAR                          Case No. 2:22−cv−01549−SB−JC
  9
                      Plaintiff(s),
                                                 MANDATORY SCHEDULING
  10 v.                                          CONFERENCE (MSC) ORDER
  11 MIDLAND CREDIT MANAGEMENT, INC.             Date:          July 1, 2022
  12                 Defendant(s).
                                                 Time:          8:30 a.m.
  13
                                                 Courtroom:     6C
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  15
  16    READ THIS ORDER CAREFULLY BECAUSE IT CONTROLS THIS CASE
  17       AND DIFFERS IN PART FROM THE LOCAL RULES. FAILURE TO
  18                     COMPLY MAY RESULT IN SANCTIONS
  19        This case has been assigned to Judge Stanley Blumenfeld, Jr. and is set for
  20    scheduling conference pursuant to Fed. R. Civ. P. 16(b) on the above date in
  21    Courtroom 6C of the First Street Courthouse, 350 West First Street, Los Angeles,
  22    CA, 90012.
  23
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  1    1.   PRELIMINARY MATTERS

  2         a.   Self-Represented Parties. Parties appearing in propria persona (pro per)

  3              must comply with the Federal Rules of Civil Procedure and the Local

  4              Rules. See Local Rule 1-3, 83-2.2.3. “Counsel,” as used in this order,

  5              includes parties appearing pro per.

  6         b.   Notice to be Provided by Counsel. Plaintiff’s counsel or, if plaintiff is

  7              in pro per, defendant’s counsel, shall provide this Order to all known

  8              parties who have not yet appeared or who appear after the date of this

  9              Order.

  10        c.   Court’s Website. This and all other applicable orders in this case are

  11             available on Judge Blumenfeld’s Webpage (scroll to bottom). The

  12             Local Rules are available on the Central District of California Website.

  13        d.   Pleadings. If plaintiff has not previously served the operative complaint

  14             on all defendants, plaintiff shall promptly do so and file proof(s) of

  15             service within 3 days thereafter. Each defendant likewise shall promptly

  16             serve and file a responsive pleading and file proof of service within 3

  17             days thereafter (if not previously done). At the scheduling conference,

  18             the Court will set a deadline within 60 days for hearing motions to

  19             amend the pleadings or add parties (including DOE defendants).

  20        e.   Discovery. The parties are reminded of their obligations to (i) make

  21             initial disclosures “without awaiting a discovery request” (Fed. R. Civ.

  22             P. 26(a)(1)) and (ii) confer on a discovery plan at least 21 days before the

  23             scheduling conference (Fed. R. Civ. P. 26(f)). The Court encourages

  24             counsel to agree to begin to conduct discovery actively before the

  25             scheduling conference. At the very least, the parties shall comply fully

  26             with Fed. R. Civ. P. 26(a), producing most of what is required in the

  27             early stage of discovery, because the Court will impose strict deadlines

  28             to complete discovery in the case management order.


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  1    2.   MANDATORY SCHEDULING CONFERENCE (MSC)

  2         a.   Continuance. A request to continue the scheduling conference will be

  3              granted only for good cause. The parties should plant to file the Joint

  4              Rule 26(f) Report on the original due date even if a continuance is

  5              granted. The Court will not continue the MSC to allow the parties to

  6              explore settlement.

  7         b.   Vacating the Conference. The Court may vacate the scheduling

  8              conference and issue a case management order based on the Joint Rule

  9              26(f) Report.

  10        c.   Participation. Lead trial counsel must attend the scheduling conference,

  11             unless excused by the Court for good cause prior to the conference.

  12   3.   JOINT RULE 26(F) REPORT

  13        a.   Caption. Under the title, list the dates of the (1) Original Complaint; (2)

  14             Removal (if removed); (3) Responsive Pleading; (4) Trial (Proposed);

  15             and (5) MSC.

  16        b.   Due Date. File the Joint Rule 26(f) Report (Report) no later than 10

  17             days before the scheduling conference and deliver it to Judge

  18             Blumenfeld’s Chambers email (in Word format) and Chambers Copy

  19             box outside the Clerk’s Office (4th floor).

  20        c.   Jointly Filed. Plaintiff shall draft the Report−unless plaintiff is self-

  21             represented and not a lawyer or the parties agree otherwise−but it shall

  22             be jointly signed and filed (i.e., a single report submitted by all parties).

  23        d.   Contents. The Report shall include all the following information using

  24             numbered section headings and lettered sub-headings that correspond

  25             precisely to those below:

  26             (1)   Subject Matter Jurisdiction. State the basis of federal

  27                   jurisdiction, including supplemental jurisdiction. For federal

  28                   question jurisdiction, cite the federal law under which the claim


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  1                  arises. For diversity jurisdiction, state each party’s citizenship

  2                  and the amount in controversy.

  3            (2)   Statement of the Case. A short synopsis of the main claims,

  4                  counterclaims, affirmative defenses, and procedural history.

  5            (3)   Damages/Insurance.

  6                  a. Damages. The realistic range of provable damages.

  7                  b. Insurance. Whether there is insurance coverage, the extent of

  8                     coverage, and whether there is a reservation of rights.

  9            (4)   Parties, Evidence, etc. A list of parties, percipient witnesses, and

  10                 key documents on the main issues in the case. For conflict

  11                 purposes, corporate parties must identify all subsidiaries, parents,

  12                 and affiliates.

  13           (5)   Discovery.

  14                 a. Status of Discovery. A discussion of the present state of

  15                    discovery, including a summary of completed discovery.

  16                 b. Discovery Plan. A detailed discovery plan, as contemplated by

  17                    Fed. R. Civ. P. 26(f). State any proposed changes in the

  18                    disclosures under Fed. R. Civ. P. 26(a), the subject(s) on which

  19                    discovery may be needed, whether applicable limitations should

  20                    be changed or others imposed, and whether the Court should

  21                    enter other orders. A general statement to the effect that

  22                    discovery will be conducted on all claims and defenses is

  23                    unacceptable. The failure to provide a detailed plan will result

  24                    in a trial setting for a low-complexity case (described below).

  25           (6)   Legal Issues. A brief description of all key legal issues, including

  26                 any significant procedural, substantive, or evidentiary issues.

  27           (7)   Motions.

  28                 a. Procedural Motions. A statement of the likelihood of motions


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  1                     to add other parties or claims, file amended pleadings, transfer

  2                     venue, etc.

  3                  b. Dispositive Motions. A description of the issues or claims that

  4                     any party believes may be determined by motion to dismiss

  5                     or motion for motion for summary judgment (MSJ). For the

  6                     Court’s Standing Order governing MSJs, see MSJ Order (scroll

  7                     to bottom of webpage).

  8                  c. Class Certification Motion. For a putative class action, the

  9                     Court shall set a deadline for hearing the class certification

  10                    motion. The motion must be filed sufficiently far in advance of

  11                    the deadline to allow for: (i) at least three weeks between the

  12                    filing of the reply and the hearing; (ii) four weeks for the

  13                    opposition; and (iii) two weeks for the reply. The parties must

  14                    act diligently and begin discovery immediately, because the

  15                    motion must be filed no later than 120 days from the date

  16                    originally set for the scheduling conference, unless the Court

  17                    orders otherwise. Any request for additional time beyond the

  18                    120 days must be supported by a detailed “Class Certification

  19                    Plan”− attached as an exhibit at the end of the Report− showing

  20                    all anticipated activity and the corresponding date for each

  21                    activity, up to the hearing on the motion. The failure to provide

  22                    the Class Certification Plan will result in the denial of additional

  23                    time.

  24           (8)   Alternative Dispute Resolution (ADR).

  25                 a. Prior Discussions. A description of any prior oral or written

  26                    settlement discussions (without stating the terms).

  27                 b. ADR Selection. The parties shall state their preference for

  28                    mediation before: (i) the magistrate judge, (ii) the court


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  1                     mediation panel, or (iii) a private mediator (at the parties’

  2                     expense). Failure to state a preference shall be construed as

  3                     authorizing the Court to select at will. Participation in ADR

  4                     by all parties, including an officer with full settlement authority

  5                     for corporate parties, is mandatory.

  6            (9)   Trial.

  7                  a. Proposed Trial Date. The trial date is set within a prescribed

  8                     period from the original due date of the initial responsive

  9                     pleading.

  10                    • The period depends on the relative level of factual and legal

  11                      complexity: (i) Low Level − 4-6 Months (e.g., ADA, Lemon

  12                      Law, and personal injury cases); (ii) Medium Level − 9-12

  13                      Months (e.g., civil rights, contract, trademark, and

  14                      employment cases); and (iii) High Level − 12-18 Months

  15                      (e.g., complex antitrust, RICO, or securities class actions).

  16                    • The Court determines the pretrial and trial deadlines based

  17                      on the information provided in the Report. The parties must

  18                      justify the proposed trial date, even if it is a joint request, as

  19                      the strength of the justification rather than the fact of

  20                      agreement will dictate the trial setting. The strength of the

  21                      justification will be determined by the detailed information

  22                      provided in completing the sections above as supplemented

  23                      by an explanation in this subsection.

  24                 b. Time Estimate. A realistic estimate of the number of court days

  25                    required for trial, specifying the number of witnesses each party

  26                    contemplates calling. If the time estimate exceeds four days,

  27                    counsel should justify in sufficient detail the basis for the

  28                    estimate.


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  1                    c. Jury or Court Trial. Specify whether trial will be by jury or by

  2                       court. The default will be a court trial if the parties fail to

  3                       specify.

  4                    d. Magistrate Judge. Whether the parties agree to try the case

  5                       (either by jury or court trial) before a magistrate judge. See 28

  6                       U.S.C. § 636 (requiring party consent). The parties may

  7                       choose any magistrate judge identified on the Central District.

  8                       website and submit the consent form.

  9                    e. Trial Counsel. The names of the attorneys who will try the case

  10                      and their respective roles.

  11            (10)    Special Requests/Other Issues.

  12                   a. Independent Expert or Master. Whether the Court should

  13                      consider appointing a master (Fed. R. Civ. P. 53) or an

  14                      independent expert (if the case involves, for example,

  15                      substantial discovery disputes, or complex scientific issues for

  16                      the bench).

  17                   b. Manual for Complex Litigation. Whether the procedures of the

  18                      Manual for Complex Litigation should be used in whole or part.

  19                   c. Other Issues. A statement of any other issues affecting case

  20                      management−e.g., unusually complex technical issues,

  21                      discovery in foreign jurisdiction(s), protective-order disputes,

  22                      accommodation needs (interpreters, ADA requests, etc.), and

  23                      any proposed ordering of proof (severance, bifurcation, etc.).

  24       e.   ERISA Cases Involving Benefit Claims. The parties need only submit

  25            a joint status report identifying any special issues that should be

  26            considered. The parties should proceed with the preparation of the

  27            administrative record and briefing without delay upon service of the

  28            complaint. A court trial, ordinarily limited to oral argument on the


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  1                administrative record, will be scheduled within six months from the filing

  2                of the original complaint, unless good cause for additional time is shown

  3                in the status report. If the Court concludes that the decision would not

  4                benefit from oral argument, the matter may be submitted for decision on

  5                the papers.

  6    4.   CASE MANAGEMENT ORDER (CMO).

  7         a.     Pretrial Dates. The Pretrial Conference (PTC) will be set about three

  8                weeks before the trial date. All other pretrial dates generally will be set

  9                the following number of weeks before the PTC:

  10             Pretrial Event         PTC                            Notes
  11             Fact Discovery          18     Last day for responses/depos. Don’t wait to the last
                 Cutoff:                weeks   minute or risk not having time for dispute resolution.
  12             Expert Discovery        14     Initial/Rebuttal Disclosures−20/18 weeks. Parties
                 Cutoff:                weeks   may modify so long as the cut-off is unchanged.
  13             Discovery Motion        14     Complete discovery in advance of cut-off in time for
                 Cutoff:                weeks   hearing and any court-ordered discovery.
  14             Non-Discovery Motion    12     For summary judgment motions, see MSJ Order on
                 Cutoff:                weeks   the Court’s webpage (scroll to bottom).
  15
                 ADR                     10     Set before cut-off to allow for follow-up sessions. A
                 Cutoff:                weeks   status conference is set within 2 weeks of the cut-off.
  16
                 Trial Filings            4     See Trial and Pretrial Order on the Court’s webpage
                 (1st Set):             weeks   (scroll to bottom).
  17
                 Trial Filings            2     See Trial and Pretrial Order on the Court’s webpage
  18             (2nd Set):             weeks   (scroll to bottom).

  19        b.     Continuances. The CMO deadlines will not be continued absent a

  20               timely showing of good cause presented in a Word document along with

  21               a proposed order delivered to Judge Blumenfeld’s Chambers email. The

  22               Court applies the same standard of good cause to all extension requests−

  23               whether opposed or jointly requested.

  24               i. Good cause. Good cause requires a specific, detailed, and non-

  25                  conclusory showing of diligence from the outset of the case,

  26                  describing: (1) all relevant work previously done (including when

  27                  each item was completed), (2) all relevant work that remains to be

  28                  done, (3) why the remaining work could not previously have been


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  1              done (including efforts made to complete each remaining item), and

  2              (4) why the amount of time requested is needed to complete the

  3              remaining work. This information must be provided in table form

  4              contained in the Attachment to the CMO.

  5           ii. Diligence. Diligence generally will not be found when a party opts

  6              for strategic staging of discovery (or other tasks) or for in-person

  7              deposition that prevents completion within the existing deadline.

  8              The parties should plan to complete discovery far enough in advance

  9              of the discovery deadline to allow for the filing of a discovery

  10             motion if necessary and complete the discovery allowed if relief is

  11             granted. Moreover, a desire to engage in settlement discussions

  12             generally does not constitute good cause. The parties are strongly

  13             encouraged to agree to exchange initial disclosures promptly and

  14             to actively commence discovery before the MSC.

  15          iii. Proposed Order. The parties must complete and submit the CMO

  16             Continuance Order Template on the Court’s website under “Orders

  17             & Additional Documents” at the bottom of the webpage. Please

  18             follow the highlighted directions at the end of the document. File the

  19             Proposed Order and submit an electronic Word copy to Judge

  20             Blumenfeld’s Chambers email. Failure to use and properly submit

  21             the CMO Continuance Order Template will result in the striking or

  22             summary denial of the request.

  23          iv. Denied with Prejudice. Denial of an extension request, including

  24             summary denial, is with prejudice. The parties should therefore

  25             present all available information showing that the outstanding

  26             discovery or other litigation tasks cannot be completed within the

  27             existing deadlines despite all reasonable diligence from the outset

  28             of the case. A party is not permitted to resubmit a denied extension


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  1               request with information that was either previously submitted or

  2               previously available.

  3                                     *       *       *

  4               Failure to comply with the procedural requirements above−

  5               including the use and proper submission of the table in the MSC

  6               Attachment and the CMO Continuance Order Template−will result

  7               in the extension request being stricken or summarily denied. An

  8               improper resubmission of a denied extension request may result in

  9               sanctions.

  10       c.   Motion Deadlines. All hearing deadlines reflect the last day when a

  11            motion may be heard, and a hearing must be set on an open hearing

  12            date. The Court may close calendar dates in advance of the 28-day

  13            motion schedule. Consult the Court’s website before scheduling a

  14            hearing to determine availability. A party that waits until the last day to

  15            have a motion heard risks having the motion stricken and deemed

  16            untimely if the motion is set on a date that turns out to be unavailable or

  17            is otherwise deficient. Do not wait until the last minute to file.

  18
  19       IT IS SO ORDERED.

  20
  21 Dated: May 20, 2022
  22                                                Stanley Blumenfeld, Jr.
                                               United States District Court Judge
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